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UNITED sTATEs DISTRICT coURT mae et FLSP D.G.
wEsTERN DISTRICT oF TENNESSEE

 

Western Division 05 JUl_ 21 Al'l 81 lB
UNITED STATES OF AMERICA H;`. w '-¢'.
C\ \. w , =_
-vs- Case‘l*§Q)'.Cer 22 DSHM§M D

TAMMIE MCCANN

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

This Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel. Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A):

APPOINTMENT OF COUNSEL

‘ The Federal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT
- All purposes including trial and appeal

DONE and ORDERED in 167 North Main, Memphis, this acQ_____lL__ l’\day of July, 2005.

dow /5 @MV

DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

Copies furnished to:

United States Attorney

United States Marshal

Pretrial Services Offlce

Assistant Federal Public Defender
lntake

TAMMIE`. MCCANN

Thls document entered on the docket s t n

with Rule 55 andfor 32(b) FRCrP on ` (D

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CR-20264 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

